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                   EXHIBIT A
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                                                                                              l2 :t 'PM


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                                                                 SUPERIOR COURT OF CALIFORNIA
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                                                                            JUN 1 3 2017
 5
       G. SAMUEL, CLEAVER (SBN 245717)                          BY~ -----       dr   .   Q!
 6     LAW OFFICES OF G. SAMUEL CLEAVER
                                                                                           l    ?-

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 8
       Attorneys for Plaintiff Chelsea Hamilton
 9

iu                      SUPERIOR COURT OF TH E STATE OF CALIFORNIA

                                  FOR THE COUNTY C F SAN BERNARDINO
       CHELSEA HAMILTON, individually and on        Case No.:    I V,dP ',y S1 TI 'fl 39
12
       behalf of all others similarly situated,
13                                                  CLASS ACTION
                       Plaintiff,
14             V.                                   CLASS ACTION COMPLAINT FOR
                                                    DAMAGES FOR;
15     WAL-MART STORES, INC., a corporation,
       WAL-MART ASSOCIATES INC., a                  (1) VIOLATION OF LABOR CODE
16       rporat[duuLSTIhroug1i5U                         SECTION 1194 AND 510;
       inclusive,
17                                                   (2)   VIOLATION OF LABOR CODE
                     Defendants.                           SECTION 226.7 AND 512;
18
                                                    (3)    VIOLATION OF LABOR CODE
19                                                         SECTION 203;
20                                                   (4)   VIOLATION OF LABOR CODE
                                                           SECTION 226;
21
22                                                   (5)   BUSINESS AND PROFESSIONS
                                                           CODE SECTION 17200 et seq.
23                                                   DEMAND FOR JURY TRIAL
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                                   CLASS ACTION COMPLAINT FOR DAMAGES


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 1    •      Plaintiff Chelsea Hamilton ("Plaintiff') hereby submits her Complaint for Damages
 2 against Defendants Wal-Mart Stores, Inc., Wal-Mart Associates, Inc., and DOES I through 50,
 3 inclusive (collectively, "Defendants"), on behalf of herself and the Class of other similarly
 4   .situated current and former employees of Defendants for minimum and overtime wages, meal
 5   I period and rest break wages, and penalties as follows:
 6                                           INTRODUCTION
 7                1.   This class action is brought pursuant to Labor Code §§ 203, 226, 226.7, 5 -10,
 8 512, 1194, Industrial Welfare Commission ("IWC") Wage Order 5-2001 (codified as

 9    California Code of Regulations Title 8 § 11050), and Business and Professions Code § 17200
10 et seq. (Unfair Competition Law ("UCL")).

             2.        This Complaint challenges Defendants' systemic illegal employment practices
12    resulting in violations of the stated provisions of the Labor Code and Business and Professions
13    Code against the identified class of employees.
14           3.        Plaintiff is informed and believes and thereon alleges Defendants joint and
15    severally acted intentionally and with deliberate indifference and conscious disregard to the
16   rights of all employees in (1) failing to pay all minimum and overtime wages; (2) failing to
17   provide meal periods and rest breaks; (3) failing to provide accurate wage statements; and (4)
18    failing to pay all wages due and owing upon termination of employment.
19                                     JURISDICTION AND VENUE
20           4.        This class action is brought pursuant to California Code of Civil Procedure §
21    382. The monetary damages sought by Plaintiff exceed the minimal jurisdictional limits of the

22 Superior Court and will be established according to proof at trial.
23           5.        This Court has jurisdiction over this action pursuant to California Constitution,
24    Article VI, Section 10, which grants the Superior Court original jurisdiction in all causes
25 except those given by statute to other courts. The statutes under which this action is brought
26   do not specify any other basis for jurisdiction.
27           6.        This Court has jurisdiction over the violations of Labor Code §§ 203, 226,
28 226.7, 510, 512, 1194, IWC Wage Order 5-2001, and the UCL.

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 1            7.     This Court has jurisdiction over all Defendants because, upon information and
 2    belief, each party has sufficient minimum contacts in California, or otherwise intentionally
 3    avails itself of California law so as to render the exercise of jurisdiction over it by the
 4    California courts consistent with traditional notions of fair play and substantial justice.
 5           8.      Venue is proper in this Court because, upon information and belief, the named
 V    Defendants transact business and/or have offices and/or store locations in this county,
                                                                                           J and the


 7    acts and omissions alleged herein took place in this county.
 8                                                 PARTIES
 9           9.      Plaintiff Chelsea Hamilton is an individual residing in the State of California.
10    Plaintiff was employed as an Associate by Defendants at its Chino, California facility (located
11    at 6750 Kimball Ave., Chino, California, 91708).
12            10.    Plaintiff is informed and believes and thereon alleges that Defendant Wal-Mart
13    Stores, Inc. is a corporation licensed to do business and actually doing business in the State of
14    California, including the County of San Bernardino.
15            11.    Plaintiff is informed and believes and thereon alleges that Defendant Wal-Mart
16    Associates, Inc. is a corporation licensed to do business and actually doing business in the State
17    of California, including the County of San Bernardino.
18            12.    Plaintiff does not know the true names or capacities, whether individual, partner
19    or corporate, of Defendants sued herein as DOES I through 50, inclusive, and for that reason,
20    said Defendants are sued under such fictitious names, and Plaintiff prays for leave to amend
21    this complaint when the true names and capacities are known. Plaintiff is informed and
22    believes and thereon alleges that each of Defendants designated as a DOE was responsible in
23    some way for the matters alleged herein and proximately caused Plaintiff and members of the
24    general public and the Class to be subject to the illegal employment practices, wrongs and
25    injuries complained of herein.
26           13.     At all times herein mentioned, Defendants, and each of them, were agents,
27   partners, joint venturers, representatives, servants, employees, successors-in-interest, co-
28    conspirators and assigns, each of the other, and at all times relevant hereto were acting within


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 1 the course and scope of their authority as such agents, partners, joint venturers, representatives,
 2 servants, employees, successors, co-conspirators and assigns, and that all acts or omissions
 3 alleged herein were duly committed with ratification, knowledge, permission, encouragement,
 4 authorization and-consent of each Defendant designated herein.
 5          14.     As Such, and based upon all the facts and circumstances incident to Defendants'
 6 business in California; Defendants are sibject to Labor Code §§ 203, 226, 276.7, 510, 512,
 7 1194, IWC Wage Order -5-2001, and the UCL.
 8                                CLASS ACTION ALLEGATIONS
 9          15.     Definition: Plaintiff seeks class certification pursuant to California Code of
10 Civil Procedure § 382 of a Class of all Defendants' non-exempt "associate" employees who
11 worked at their Chino, California facility (located at 6750 Kimball Ave., Chino, California,
12 91708) during the period from June 13, 2013, to the present, including the following
13 Subclasses:
14                  a.      Overtime Subclass: all Defendants' non-exempt "associate" employees
15                          who worked at Defendants' Chino, California facility (located at 6750
16                          Kimball Ave., Chino, California, 91708) for one or more shifts in excess
17                          of eight (8) hours in a day or forty (40) hours in a workweek and were
18                          not properly paid all overtime wages during the period from June 13,
19                          2013, to the present;
20                  b.      Minimum Wage Subclass: all Defendants' non-exempt "associate"
21                          employees who worked at Defendants' Chino, California facility
22                          (located at 6750 Kimball Ave., Chino, California, 91708) and were not
23                          properly paid all minimum wages during the period from June 13, 2013,
24                          to the present;
25                  c.      Meal Period Subclass:         all Defendants' non-exempt "associate"
26                          employees who worked at Defendants' Chino, California facility
27                          (located at 6750 Kimball Ave., Chino, California, 91708) for one or
28                          more shifts in excess of ten (10) hours in California during the period

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 1                          from June 13, 2013, to the present;
 2                  As an alternative to Subclass (a): all Defendants' non-exempt "associate"
 3                          employees who worked at Defendants' Chino, California facility
 4                          (located at 6750 Kimball Ave., Chino, California, 91708) for one or
 5                          more shifts in excess of ten (10) hours in California without receiving a
 6                          second 30-minutd"meal period during which they were relieved of all
 7                          duties; during the period from June 13, 2013, to the present;
 8                  d.      Terminated Employee Subclass:             all Defendants' non-exempt
 9                          "associate" employees who worked at Defendants' Chino, California
10                          facility (located at 6750 Kimball Ave., Chino, California, 91708) during
11                          the period from June 13, 2014, to the present, and who were not properly
12                          paid all wages on termination or within 72 hours thereof; and
13                  e.      Wage Statement Subclass: all Defendants' non-exempt "associate"
14                          employees who worked at Defendants' Chino, California facility
15                          (located at 6750 Kimball Ave., Chino, California, 91708) and received a
16                          wage statement during the period from June 13, 2014, to the present.
17           16.    Numerosity: The members of the Class are so numerous that joinder of all
18 members would be impractical, if not impossible. The identities of the members of the Class
19 are readily ascertainable by review of Defendants' records, including payroll records.
20           17.    Adequacy of Representation: Plaintiff is fully prepared to take all necessary
21   steps to represent fairly and adequately the interests of the Class defined above. Plaintiff's
22 attorneys are ready, willing and able to fully and adequately represent the Class and Plaintiff.
23 Plaintiff's attorneys have prosecuted and settled wage-and-hour class actions in the past and
24 currently have a number of wage-and-hour class actions pending in California courts.
25           18.    Defendants administered a corporate policy, practice and/or procedure of (1)
26 failing to pay all meal period wages and rest break wages, (2) failing to pay all minimum and
27 overtime wages, (3) failing to pay all wages due and owing upon termination of employment,
28 and (4) failing to provide accurate wage statements. Plaintiff alleges this corporate conduct is

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 I accomplished with the advance knowledge and designed intent to willfully withhold
 2 appropriate wages for work performed members of the Class.
 3           19.    Common Question of Law and Fact:             There are predominant common
 4 questions of law and fact and a community of interest amongst Plaintiff and the claims of the
 5 Class concerning whether Defendants' policies and practices regularly denied Class. Members
 6 meal and rest break wages, minimum and overtime wages, accurate wage statements, and all
 7 wages due and owing upon termination of employment.
 8           20.    Typicality: The claims of Plaintiff are typical of the claims of all members of
 9 the Class. Plaintiff is a member of the Class and has suffered the alleged violations of Labor
10 Code §§ 203, 226, 226.7, 1194, IWC Wage Order 5-2001, and the UCL. Plaintiff worked at
11 least one shift in excess of six hours during which she was not provided all duty-free, legally
12 mandated meal periods. Plaintiff worked at least one shift of 3.5 hours or greater during which
13 she was not authorized and permitted all duty-free, legally mandated rest breaks. Plaintiff
14 worked at least one shift in excess of eight hours and one workweek in excess of 40 hours
15 during which she was not paid all minimum and overtime wages. Plaintiff received wage
16 statements during her employment. Plaintiff's employment was terminated during the
17 statutory period.
18           21.    The Labor Code upon which Plaintiff bases her claims is broadly remedial in
19 nature. These laws and labor standards serve an important public interest in establishing
20 minimum working conditions and standards in California. These laws and labor standards
21 protect the average working employee from exploitation by employers who may seek to take
22 advantage of superior economic and bargaining power in setting onerous terms and conditions
23 of employment.
24           22.    The nature of this action and the format of laws available to Plaintiff and
25 members of the Class identified herein make the class action format a particularly efficient and
26 appropriate procedure to redress the wrongs alleged herein. If each employee were required to
27 file an individual lawsuit, the corporate Defendants would necessarily gain an unconscionable
28 advantage since it would be able to exploit and overwhelm the limited resources of each

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 1 individual plaintiff with their vastly superior financial and legal resources. Requiring each
 2 Class Member to pursue an individual remedy would also discourage the assertion of lawful
 3 claims by employees who would be disinclined to -li.le an action against their former and/or
 4 current employer for real and justifiable fear of retaliation and permanent damage to their
 5 careers at subsequent employment.
 6           23.    The prosecution of -separate actions by the individual Class Members, even if
 7 possible, would create a substantial risk of -(a) - -inconsistent Or varying adjudications with
 8 respect to individual Class Members against the Defendants and which would establish
 9 potentially incompatible standards of conduct for the Defendants, and/or (b) adjudications with
10 respect to individual Class Members which would, as a practical matter, be dispositive of the
11 interest of the other Class Members not parties to the adjudications or which would
12 substantially impair or impede the ability of the Class Members to protect their interests.
13 Further, the claims of the individual members of the Class are not sufficiently large to warrant
14 vigorous individual prosecution considering all of the concomitant costs and expenses.
15           24.     Such a pattern, practice, and administration of corporate policy regarding illegal
16 employee compensation described herein is unlawful and creates an entitlement to recovery by
17 the Plaintiff and the Class identified herein, in a civil action, for the unpaid balance of the full
18 amount of meal period and rest break wages, and minimum and overtime wages, including
19 interest thereon, attorneys' fees and costs of suit, as well as consequential damages.
20           25.    Proof of a common business practice or factual pattern, which the named
21 Plaintiff experienced and is representative of, will establish the right of each Class Member to
22 recovery on the causes of action alleged herein.
23           26.    The Class is commonly entitled to a specific fund with respect to the
24 compensation illegally and unfairly retained by Defendants. This action is brought for the
25 benefit of the entirety of the Class and will result in the creation of a common fund.
26
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 1                                   FIRST CAUSE OF ACTION
 2                   VIOLATION OF LABOR CODE SECTION 1194 AND 510
 3                     REGARDING MINIMUM AND OVERTIME WAGES
 4'               (AGAINST ALL DEFENDANTS BY PLAINTIFF ON BEHALF OF
 5                             THE CLASS AND ALL SUBCLASSES)
 6          27.     Plaintiff re-alleges and incorporates by reference paragraphs I through 26 as
 7 though fully set forth herein.
 8          28.     At all times relevant herein, Defendants were required to compensate their non-
 9 exempt "associate" employees minimum wages for all hours worked, and overtime wages for
10 all hours worked in excess of eight (8) hours per day and forty (40) hours per week.
11          29.     As a pattern and practice, Defendants failed to compensate Plaintiff and the
12 Class and Subclasses for all minimum and overtimes wages earned, including, but not limited
13 to all overtime hours in excess of eight (8) hours worked each day, and all minimum and
14 overtime wages for the off-the-clock time spent passing through security checks following
15 each shift. This resulted in Plaintiff and the Class and Subclasses receiving total wages in an
16 amount less than minimum wage and, where applicable, appropriate overtime wages.
17          30.     Such a pattern, practice, and administration of corporate policy regarding illegal
18 employee compensation as described herein is unlawful and creates an entitlement to recovery
19 by Plaintiff and the Class and Subclasses in a civil action, for the unpaid balance of the full
20 amount of minimum and overtime wages owing, including liquidated damages, interest,
21 attorneys' fees, and costs of suit according to the mandate of California Labor Code § 1194.
22          31.     Defendants' willful failure to provide Plaintiff and the Class and Subclasses the
23 wages due and owing them upon separation from employment results in continuation of wages
24 up to thirty (30) days from the time the wages were due. Therefore, Plaintiff and Class
25 Members who have separated from employment are entitled to compensation pursuant to
26 Labor Code § 203.
27
28

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     1                                     SECOND CAUSE OF ACTION
     2                      VIOLATION OF LABOR CODE SECTION 226.7 AND 512
     3 •
                                      REGARDING MEAL PERIOD WAGES
     4      (AGAINST ALL DEFENDANTS BY PLAINTIFF ON BEHALF OF THE CLASS AND
w
    ,5                                           ALL SUBCLASSES)
     6                32.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 31 as
     7
         though fully set forth herein.
     8                33.   In accordance with the mandates of the California Labor Code and the
     9 applicable IWC Wage Order, Plaintiff and the Class and Subclasses had the right to take a 30-
    l0 minute meal period for every five (5) hours worked.
    11                34.   As a pattern and practice, Defendants regularly failed to provide Plaintiff and
    12 the Class and Subclasses a second duty-free meal period for all "associate" employees that
    13 worked shifts in excess of ten (10) hours, and did not provide proper compensation for this
    14     failure.
    15                35.   Such a pattern, practice, and administration of corporate policy as described
    16 herein is unlawful and creates an entitlement to recovery by the Plaintiff and the Class and
    17 Subclasses identified herein, in a civil action, for the balance of the unpaid premium
    18 compensation pursuant to Labor Code § 226.7 and the applicable IWC Wage Order, including
    19 interest thereon.
    20                36.   Defendants' willful failure to provide Plaintiff and the Class and Subclasses the
    21 wages due and owing them upon separation from employment results in continuation of wages
    22 1 up to thirty (30) days from the time the wages were due. Therefore, Plaintiff and Class
    23 Members who have separated from employment are entitled to compensation pursuant to
    24 Labor Code § 203,
    25 I//
    26 ///
    27 ///
    28 ///

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                                        CLASS ACTION COMPLAINT FOR DAMAGES
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 l                                   THIRD CAUSE OF ACTION
 2                         VIOLATION OF LABOR CODE SECTION 203
 3                          REGARDING WAITING TIME PENALTIES
 4 (AGAINST ALL DEFENDANTS BY PLAINTIFF ON BEHALF OF THE CLASS AND
 5                                           ALL SUBCLASSES)
 6          37. Plaintiff re-alleges and incorporates by reference paragraphs 1 through - 36. as. though
 7 fully set for herein.
 8          38. At all times relevant herein, Defendants were required to pay their employees all
 9 wages owed in a timely fashion at the end of employment pursuant to California Labor Code
10 §§ 201 to 204.
11          39. As a result of Defendants' Labor Code violations alleged above, Defendants
12 regularly failed to pay Plaintiff and the Class and Subclasses their final wages pursuant to
13 Labor Code §§ 201 to 204 and accordingly owe waiting time penalties pursuant to Labor Code
14 § 203.
15          40. The conduct of Defendants and their agents and employees as described herein was
16 willfully done in violation of Plaintiff and the Class and Subclasses' rights, and done by
17 managerial employees of Defendants.
18          41. Defendants'        willful       failure      to      provide        Plaintiff      and
19 the Class and Subclasses the wages due and owing them upon separation from employment
20 results in a continuation of wages up to thirty (30) days from the time the wages were due.
21 Therefore, Plaintiff and Class Members who have separated from employment are entitled to
22 compensation pursuant to Labor Code § 203.
23                                   FOURTH CAUSE OF ACTION
24                         VIOLATION OF LABOR CODE SECTION 226
25                                REGARDING RECORD KEEPING
26 (AGAINST ALL DEFENDANTS BY PLAINTIFF ON BEHALF OF THE CLASS AND
27                               SUBCLASSES (a), (b), (c), (d), and (f))
28          42. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as though

                                                 10
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 1    I fully set forth herein.
 2             43. In violation of Labor Code § 226, Defendants failed in their affirmative obligation
 3     to keep accurate records regarding .the.•.rates of pay for their California employees. - For
 4     example, as a result of Defendants' various Labor Code violations, Defendants failed to keep
 5     accurate records of Plaintiff and the Class and Subclasses (a), (b), (c), (d), and (f)'s gross
 6     wages earned, total hours worked, net wages 'earned, and all applicable hourly rates and the
 7     number of hours worked at each hourly rate.
 8             44. Such a pattern, practice, and administration of corporate policy as described herein
 9     is unlawful and creates an entitlement to recovery by the Plaintiff and the Class and Subclasses
10     (a), (b), (c), (d), and (f) identified herein, in a civil action, for all damages and/or penalties
11     pursuant to Labor Code § 226, including interest thereon, penalties, reasonable attorneys' fees,
12     and costs of suit according to the mandate of California Labor Code § 226.
13'                                      FIFTH CAUSE OF ACTION
14      FOR VIOLATION OF BUSINESS AND PROFESSIONS CODE SECTION 17200 et seq.
15                   (AGAINST ALL DEFENDANTS BY PLAINTIFF ON BEHALF OF
16                                 THE CLASS AND ALL SUBCLASSES)
17             45. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 44 as though
18 ~ fully set for herein.
19             46. Defendants , and each of them , have engaged and continue to engage in unfair and
20     unlawful business practices in California by practicing, employing and utilizing the
21     employment practices outlined above, inclusive, to wit, by knowingly denying employees: (1)
22     all minimum and overtime wages; (2) all meal period wages; (3) all wages due and owing upon
23     termination of employment; and (4) accurate wage statements.
24             47. Defendants' utilization of such business practices constitutes unfair, unlawful
25     competition and provides an unfair advantage over Defendants' competitors.
26             48. Plaintiff seeks, on her own behalf, and on behalf of other members of the Class and
27     Subclasses who are similarly situated, full restitution of monies, as necessary and according to
28     proof, to restore any and all monies withheld, acquired and/or converted by the Defendants by


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 I means of the unfair practices complained of herein.
 2           49. The acts complained of herein occurred within the last four years preceding the
 3 fling of the complaint in this action.
 4        - .50. Plaintiff is informed and believes and based thereon alleges that at all times herein
 5 mentioned Defendants have engaged, in unlawful, deceptive and unfair business practices, as
 6 proscribed.by•California Business and Professions Code § 17200 et seq., including those set
 7 forth above; thereby depriving Plaintiff and the Class and Subclasses the minimum working
 8 condition standards and conditions due to them under the California laws and IWC Wage
 9 Orders as specifically described therein.
10                                      PRAYER FOR RELIEF
11           WHEREFORE, Plaintiff prays for judgment for herself and for all others on whose
12 behalf this suit is brought against Defendants, jointly and severally, as follows:
13           1.     For an order certifying the proposed Class;
14           2.     For an order appointing Plaintiff as the representative of the Class and
15                  Subclasses as described herein;
16           3.     For an order appointing counsel for Plaintiff as class counsel;
17          4.      Upon the First Cause of Action, for all minimum and overtime wages owed, and
18                  for waiting time wages according to proof pursuant to California Labor Code
19                  §203, and for costs and attorneys' fees;
20           5.     Upon the Second Cause of Action, for all meal period wages owed, and for
21                  waiting time wages according to proof pursuant to California Labor Code §203
22                  and for costs;
23           6.     Upon for the Third Cause of Action, for waiting time wages according to proof
24                  pursuant to California Labor , Code § 203 and for costs and attorneys' fees;
25           7.     Upon the Fourth Cause of Action, for damages or penalties pursuant to statute
26                  as set forth in California Labor Code § 226, and for costs and attorneys' fees;
27          8.      Upon the Fifth Cause of Action, for restitution to Plaintiff and other similarly
28                  affected members of the general public of all funds unlawfully acquired by

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                     Defendants by means of any acts or practices declared by this Court to be in

 a                   violation of Business and Professions Code § 17200 et seq.; and
              9.     On all Causes of Action, for attorneys' fees, interest, and costs as provided by
 41
                     California Labor Code §§ 218.6,. 226, 1194, and Code of Civil Procedure §
 5                   1021.5, and for .such other further relief the Court may deem just and proper.
 UI




 7 Dated: June 13, 2017                                YOON LAW, APC
 8
 9                                                     By:
                                                                  Kenneth H. Yoon
10                                                                Stephanie E. Yasuda
                                                                  Brian G. Lee
11                                                     Attorneys for Plaintiff Chelsea Hamilton
12
13                                    DEMAND FOR JURY TRIAL
14                   Plaintiff, for herself and the Class and Subclasses, and on behalf of other
15 aggrieved employees, hereby demands a jury trial as provided by California law.
16
17     Dated: June 13, 2017                            YOON LAW, APC
18
19                                                     By:
                                                                  Kenne H. Yoon
20                                                                Stephanie E. Yasuda
                                                                  Brian G. Lee
21                                                     Attorneys for Plaintiff Chelsea Hamilton
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                                        S UMMONS                                                                          FOR COURT USE ONLY
                                                                                                                      (SOLO PAPA USOOE LA CORTE)
                                  (CiTACION JUDICIAL)
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NOTICE TO DEFENDANT:                                                                                  $ PERiOR COURT OF
                                                                                                                     DE RN
(AVISO AL DEMANDADO):                                                                                      OUNTY OFSAN               RNSTR'D
                                                                                                           3AN BERNl+Ft~
WAL-MART STORES, INC     INC.. ,, a corporation,                                                                    JUG
                                                                                                                                    Zl~ I
Additional Parties Attachment form is attached;                                                                      , .,
YOU ARE BEING SUED BY PLAINTIFF:
(LO EST/ DEMANDANDO EL DEMANDANTE):                                        -                                                Q
                                                                                                                          GAt EZ, 6Ef U'Pt'
CHELSEA HAMILTON, individually and on behalf of all others                                                       JESS ICA
similarly situated,
 NOTICE[ You have been sued. The court may decide against you without your being heard unless you respond within 30 days: Read the Information
 below.
    You have 30 CALENDAR DAYS Oiler this summons and legal papers are served on you la file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
 case. There may be a court form [hat you can use for your response. You can find these coup forms and more Inlormatlon at the California Courts
 Online Self-Help Center (www.courtlnfo.ca.gov/setfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. It you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service, If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (wcvw.lawhelpcalr!omia.crg), the California Courts Online Self-Help Center
 (www.rourfinfo•ca.gov/selfhelp }, or by contacting your local court or county bar association. NOTE; The court has a statutory lien for waived fees and
 costs an any settlement or arbitration award of $1 0,000 or more In a civil case. The court's lion must be paid before the court will dismiss the case.
 IAVISOI Lo han demandado. Si no responde denim do 30 dies, is code puede dacidir an so contra sin escuchar so verslbn. Lea is informacidn a
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    Tine 30 WAS DE CALENDARIO despads do quo (e enlreguen esta cilacidn y papeles regales pare presenfar one respuesla par escri(o en osla
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 Puede oncontrer estos formulanos dole code y n18s In(ormacidn on of Centro do Ayuda do las Codes do Celi(omia nwrw.sucorte.ca ,gov). on to
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   Hay altos requlsllos to gales. Es recomendebla quo llama a on abogado inmedtolarnenta. S1 no Conoco a fin abogado, puede Ilamar a en servicio do
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 (www.lawheipcallfornla.org ), en el Centro de Ayuda do fas Codes do California. Wwnv.sucorte.ca .gcv) o ponldndose on contaclo con to Corte o el
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The name and address of the court is:
                                                                                                                                                                          II
                  do fa core es): San Bernardino Superior Court
(El nombre y direccidn
                                                                                                                m del C   aso):   C ,A \4.f DS


247 West Third Street
San Bernardino, CA 92415
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(Ei nombre, la direccidn y el nrimero de le!Ofono del abogado del demandanle , o dot demandante qua no bone abogado, es):
Kenneth H. Yoon (SBN 198443), One Wilshire Blvd., Suite 2200, Los Angeles, CA 90017, (213)612-0988
DATE:                                                                                                                                                   , Deputy
                                                                     Clerk, by               Jessica Gal'Cf:4
(Fecha)                  i' ~~          70171                        (Secrislado)                                                                        (Adjunlo)
(For proof of service of is strrnn ns, is Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citalibn use el formufario Proof of Service of Summons, (P05-010)).
                                  NOTlC
                                      E TO THE PER50N SERVED . You are served
      I              ~
                                  1. C] as an Individual defendant,
                                 2.        as the person sued under the fictitious name of (specify):
                        I..


                                     3, 0 an behalf of (specify):
              w' r.:;
                                          under: liIII CCP 416.10 (corporation)               0 CCP 416,60 (minor)
                                                 fl CCP 416,20 (defunct corporation)          0 CCP 416,70 (conservatee)
                                                        CCP 416.40 (association or partnership) 0 CCP 416,90 (authorized person)
                                                0 other (specify):
                                         [] by personal delivery on (date):
                                                                                                                                                            Pea1 of
Farm Adopted for Mandatory Use
  Judicial Council of Celiromla
                                                                        SUMMONS                                                   Coda of Civil Procedure f f 41220,465
                                                                                                                                                   www courtinfa co.gov
  SUM-100 [Rev July 1. 20091




                                                                                                                                                        Exhibit A
                                                                                                                                                         Page 25
   Case 5:17-cv-01415-AB-KK Document 1-1 Filed 07/14/17 Page 16 of 20 Page ID #:27



                                                                                                                               SUM-200(A
                                                                                                  CASE NUMBER:
    SHORT TITLE:
  _ Hamilton v. Wal-Mart Stores, Inc. et al.

                                                          INSTRUCTIONS FOR USE
   ♦   This form may be used as an attachment to any summons, if space does not permit the listing of all parties on the summons.
   ♦   If this attachment is used, insert•the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

      fl       Plaintiff            M Defendant Ei Cross-Complainant               Cross-Defendant

    WAL-MART ASSOCIATES, INC., a corporation; and DOES I through 50, inclusive,




                                                                                                                     Page     2     of        2
                                                                                                                                          Page 1 of I
 Form Adopted ncil of datory Une
   Judicial Council of California                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) (Rev. January 1, 2007)                      Attachmept to Summons



                                                                                                                              Exhibit A
                                                                                                                               Page 26
  Case 5:17-cv-01415-AB-KK Document 1-1 Filed 07/14/17 Page 17 of 20 Page ID #:28

                                                                                                                                                                   COPY
                                                                                                                                                                                   CM-010
 AT>'ORNEY O P PARTY WITHOUT ATC{ IRNEV Neme • State Bar rmmaec and address ).                                                                      FOR COURT USE ONLY
   Kcnncth H. Yoon (SON 19844)                                                  -
   Yoon Law, A PC
   One Wilshire Boulevard , Suite 2200
   Los Angeles, CA 90017
         TELEPHONE NO.:13 ) 6 12-0988
                              (
                                  2
                                                 FAA NO'.:                                                                                            F 9 L E
                     Pla inti ff Che)s e a Hamilton.
  ATTORNEY FOR rNomel.                                                                                                                 suPRtoR
                                                                                                                                          ~    COUR T QF CALIFORNIA
SUPERIOR COURT OF CALIFORNIA , COUNTY OF San Bernardino                                                                                     COUI41Y OF SAN BERNARDINO
                                                                                                                                                              ❑1STRICT
    STREET ADDRESS : 247 West Third Street                                                                                                   SAN BERNARDINO
       MAILING ADDRESS:           247    West Third Street                            -                                                                                    I] 7
                                                                                                                                                      JU
                                                                                                                                                      JV     N
      CITY AND ZIP cQDE:      Sin Bernardino, CA 924 15
       1 •HRANCHNAhi: E.      San Bernardino District - Civil Division
  CASE NAME:
                                                                                                                                       BY                    4 a
                                                                                                                                                             ~
   Hamilton v. - Wal-Mart Stores, Inc. et al.
       CIVIL CASE COVER SHEET                                                       Complex Ca se Designation
✓
~        Unlimited                    [] Limited
         (Amount                           (Amount                          0 Counter                Q Joinder
         demanded                          demanded is               I     Filed with first appearance by defendant
                                                                                                                                    JUDGE

         exceeds $25,000)                   $25,000 or less)                        (Cal. Rules of Court, rule 3.402)                DEPT:
                                                I IG rlIJ   1 — o U O I U W !Mu s t U tz Lumpit0l0U I1UU (HS11U ( Jul l . 5 1)11 mdUB LJ.
    Check one box below for the case type that best describes this case;
    Auto Tort                                   Contract                                                                   Provisionally Complex Civil Litigation
    LI Auto (22)                                      Breach of contract/warranty ((16)                                    (Cal. Rules of Court, rules 3,400-3.403)
    Q Uninsured motorist (46)                                            LI Flute 3.740 collections (09)                   0 Antitrust/Trade regulation (03)
    Other PIIPDIWD (Personal InjurylProperty                             0 Other collections (09)                          EJ     Construction defect (10)
    Damagelwrongfut Death) Tort                                          Q Insurance coverage (18)                                Mass tort (40)
    Q Asbestos (04)                                  Q Other contract (37)                                                        Securities Illfgatlon (28)
          Product liability (24)                     Real Property                                                         LI EnvlronmentalfTotic tort (30)
         Medical malpractice (45)                    Q Eminent domainflnverse                                                     Insurance coverage claims arising from the
    0 Other PIIPDIWD (23)                                  condemnalion (14)                                                      above listed provisionally complex case
                                                     0 Wrongful eviction (33)                                                     types (41)
    Non•PIIPDIWD (Other) Tort
         Business tortiunfair business practice (07) LJ Other real property (26)                                           Enforcement of Judgment
    0 Civil rights (08)                              Unlawful Detalner                                                     LI Enforcement of judgment (20)
         Defamation (13)                             0 Commercial (31)                                                     Miscellaneous Civil Complaint
    Q Fraud (16)                                     0 Residential (32)                                                    LI RICO (27)
    LI Intellectual property (19)                                        Q Drugs (38)                                      LI Other complaint (not specified above) (42)
             Professional negligence (25)                                Judicial Review                                   Miscellaneous Civil Petition
    Q Other non-PIIPDIWD tort (35)                                       [11 Asset forfeiture (06)                         Q Partnership and corporate governancee (21)
    employment                                                           L] Pellllon re: arbitration award (11)
                                                                                                                           LI Other petition (not specified above) (43)
             Wrongful termination (36)                                   0 Writ of mandate (02)
    0 Other employment (15)                                              [7 Other udlcial review 39
2. This case 1121115                      El is not             complex under rule 3.400 of the California Rules of Court. If the case Is camolex. mark the
     factors requiring exceptional judicial management:
     a. Q Large number of separately represented parties                                       d. LI Large number of witnesses
     b. [] Extensive motion practice raising difficult or novel                                e, LI Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve                                            in other counties, states, or countries, or in a federal court
     c. [] Substantial amount of documentary evidence                                          f. 0 Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.© monetary b.© nonmonetary; declaratory or injunctive relief                                                                C.1 punitive
4. Number of causes of action (specify): Five
5. This case ✓M is        0 is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015 )                                             .



pate: June 13, 2017
Kenn eth H. Yoon                                                                                                            C~
                                      (TYPE OR PRINT NAMEI                                                                SIGRATUPE OF PARTY OR ATTO

  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding ( except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal, Rules of Court, rule 3.220,) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl y .
Form Adopted for Mandatory Use
                                                                         CIVIL CASE COVER SHEET                                         U. Rufus of CoiaI. NIOa 230. 3.210, 3400-9.403.3110.
  Judicial Council of Colilomia                                                                                                                Cal. Standards al Judicial Admgislralion, old 3.10
   CM-010 (Rev. July 1, 20071                                                                                                                                               wew.courtinfo ca.gov




                                                                                                                                                                                  Exhibit A
                                                                                                                                                                                   Page 27
    Case 5:17-cv-01415-AB-KK Document 1-1 Filed 07/14/17 Page 18 of 20 Page ID #:29


                                                                                                                                        CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check'
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action,
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cov r sheet with the first paper filed in a civil case may subject a party,
its counsel, or'both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading, A rule 3.740 collections
case will be subject to thejequirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                            CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property               Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
     •     Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                           Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                      Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDIWD (Personal Injury/                               Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case-Seller Plaintiff         -           Abstract of Judgment (Out of
          Asbestos Personal Injury)                       Other Promissory Note/Collections                          County)
                   Wrongful Death                              Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or               Insurance Coverage (not provisionally                          domestic relations)
           toxic/environmental) (24)                      complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                             Auto  Subrogation                                    Administrative. Agency Award
           Medical Malpracti ce--                         Other Coverage                                           (not unpaid taxes)
                   Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
           Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                   Malpractice                            Other Contract Dispute                               Other Enforcement of Judgment
     Other PI/PDMID (23)                         Real Property                                                       Case
           Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                   and fall)                              Condemnation (14)                               RICO (27)
           Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                   (e.g., assault, vandalism)                                                                  above) (42)
                                                     Other Real Property (e.g., quiet title) (26)
           Intentional Infliction of                                                                           Declaratory
                                                                                                               Declaratory Relief Only
                                                          Writ of Possession of Real Properly                              Relief f Oy (non-
                                 Distress                  Mortgage Foreclosure
           Negligent Infliction of                                                                                   harassment)
                                                           Quiet Title
                   Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
          Other PI/PDIWD                                  domain, landlord/tenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                 foreclosure)                                               Case (non-torbfton-complex)
                                                 Unlawful Detainer                                             Other Civil        -cart
     Business Tort/Unfair Business                                                                                  (non
                                                                                                                    (non-tort/non-complex)
         Practice (07)                               Commercial (31)
     Civil Rights (e.g., discrimination,                                                              Miscellaneous Civil Petition
                                                      Residential (32)                                    Partnership and Corporate
          false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance
          harassment) (08)                                drugs,
                                                              9 check this item; otherwise,               Other Petition(4)(not spedfied
                                                                                                                                specified
                      ( e. 9 , slander, libel )           report as Commercial or Residential)                 above) {43)
            ( 1 3)                               Judicial Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                       Petition Re: Arbitration Award (11)                      Elder/Dependent
                                                                                                                     A     endent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                            Abuse
                                                                                                                     Abus
         Legal Malpractice                                Writ-Administrative Mandamus                         Election Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court
                (not medical or legal)                                                                         Petition for Name
                                                              Case Matter                                                           From Late
                                                                                                               Petition for Relief From   Late
               Non-PI/PDIWD Ton (35)                      Writ-Other Limited Court Case                              Claim
Employment                                                    Review
     Wrongful Termination (36)                                                                                 Other Civil Petition
                                                     Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-OW (Rev, July 1, 2007)                                                                                                                 Page 2 or 2
                                                      CIVIL CASE COVER SHEET


                                                                                                                                  Exhibit A
                                                                                                                                   Page 28
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  copy
                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


Chelsea Hamilton                                                            -CASE NO .::       .
                                                                                                                  V   M°                9




                       vs.                                                   CERTIFICATE OF ASSIGNMENT

Wal-Mart Stores, Inc. et al.

A civil action or proceeding presented for filing must be accompanied by this Certiffcate..If the ground is the
residence of a party, name and residence shall be stated.

The undersigned declares that the above-entitled matter is filed for proceedings in the
San Bernardino - Civil         District of the Superior Court under Rule 404 of this court for the
checked reason:
          0   General             ❑ Collection

           Nature of Action                Ground
 ❑     1. Adoption                        Petitioner resides within the district
 El    2. Conservator                     Petitioner or conservatee resides within the district.
 ❑     3. Contract                        Performance in the district is expressly provided for.
 El    4. Equity                          The cause of action arose within the district.
 ❑     5. Eminent Domain                  The property is located within the district.
 El    6. Family Law                      Plaintiff, defendant, petitioner or respondent resides within the district.
 ❑     7. Guardianship                    Petitioner or ward resides within the district or has property within the district.
 ❑     8. Harassment                      Plaintiff, defendant, petitioner or respondent resides within the district.
       9. Mandate                         The defendant functions wholly within the district.
 ❑     10. Name Change                    The petitioner resides within the district.
 ❑     11. Personal Injury                The injury occurred within the district.
 ❑     12. Personal Property              The property is located within the district.
 ❑     13. Probate                        Decedent resided or resides within the district or had property within the
                                          district.
 ❑     14. Prohibition                    The defendant functions wholly within the district.
 ❑     15. Review                         The defendant functions wholly within the district.
 ❑     16. Title to Real Property         The property is located within the district.
 ❑     17, Transferred Action             The lower court Is located within the district.
 ❑     18. Unlawful Detainer              The property is located within the district.
 ❑     19, Domestic Violence              The petitioner, defendant, plaintiff or respondent resides within the district.
 ❑
 x     20, Other Employment                Cause of action arose In this district; corporate defendant
 ❑     21. THIS FILING WOULD              NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

The address of the accident, performance, party, detention, place of business, or other factor which qualifies
this case for filing in the above-designed district is:
  Wal-Mart                                                                                               6750 Kimball Ave.
  NAME - INDICATE TITLE OR OTHER QUALIFYING FACTOR                                                   ADDRESS
  Chino                                                                        California                                    91708
  CITY                                                                        STATE                                          ZIP CODE

I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was executed
on June 13, 2017                        a t Los Angeles                                                  , California




                                            CERTIFICATE OF ASSIGNMENT
13-16503-360, Rev 06-2014



                                                                                                                                        Exhibit A
                                                                                                                                         Page 29
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           SUPERIOR COURT OF CALIFORNIA,.COUNTY OF SAN BERNARDINO



 San Bernardino District - Civil
 247 West Third 'Street .
 San Bernardino, CA. - 924150210.

                                             CASE NO: CIVDS1711391
   YQON LAW
   ONE Wii, SHIRE BLVD. '
   SUITE 2200
   LOS ANGELES CA 90017
                                NOTICE OF TRIAL SETTING CONFERENCE

 IN RE: HAMILTON-V-WAL-MART.
 THIS CASE HAS BEEN ASSIGNED TO: DAVID COHN IN DEPARTMENT S26
 FOR ALL PURPOSES.
 Notice is hereby given that the above-entitled case has been set for
 Trial Setting Conference at the court located at 247 W. 3RD ST
 SAN BERNARDINO, CA 92415-0210.
          HEARING DATE: 12/12/17 at 8:30 in Dept. S26

 DATE: 06/13/17 Nancy Eberhardt, Court Executive Officer
                                                    By: JESSICA GARCEZ
 ----------------------------------------------------------------------
 -----------------------------------------------------------------------


                    CERTIFICATE OF SERVICE       -
 I am a Deputy Clerk of the Superior Court for the County of San
 Bernardino at the above listed address. I am not a party to this
 action and on the date and place shown below, I served a copy of the
 above listed notice:
 ( ) Enclosed in a sealed envelope mailed to the interested party
 addressed above, for collection and mailing this date, following
 standard Court practices.
 ( ) Enclosed in a sealed envelope, first class postage prepaid in the
 U.S. mail at the location shown above, mailed to the interested party
 and ddressed as shown above, or as shown on the attached listing.
 ()/A copy of this notice was given to the filing party at the counter
 () A copy of this notice was placed in the bin located at this office
 and identified as the location for the above law firm's collection of
 file stamped documents.
Date of Mailing: 06/13/17
2 declare under penalty of perjury that the foregoing is true and
correct. Executed on 06/13/17 at San Bernardino, CA
                                            BY: JESSICA GARCEZ



                                                                     Exhibit A
                                                                      Page 30
